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 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:23-CR-00073-DJC
11
                                  Plaintiff,             STIPULATION AND JOINT REQUEST FOR
12                                                       PROTECTIVE ORDER; PROTECTIVE ORDER
                     v.
13   CARLOS IVAN GONZALEZ SOLTERO,
        aka “PEPAS,”
14   DUBAN ALEJANDRO MARTINEZ
        ANDRADE,
15   JESUS ALBERTO LOPEZ,
     CARLOS FLORES AVALOS,
16   MARIANO CASILLAS, and
     ENRIQUE NAVARRO-VILLA,
17
                                  Defendants.
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20                                             I.    STIPULATION

21          1.      The United States of America, by and through Assistant United States Attorney Kerry

22 Blackburn, together with Dina Santos, counsel for defendant Carlos Ivan Gonzalez Soltero; Doug

23 Beevers, counsel for Duban Alejandro Martinez Andrade; Mike Long, counsel for Carlos Flores Avalos;

24 Martin Jones, counsel for Mariano Casillas; and Mary Bird, counsel for Enrique Navarro-Villa;

25 (“Defense Counsel”) for the reasons set forth below, hereby stipulate, agree, and jointly request that the

26 Court enter a Protective Order in this case restricting the use and dissemination of certain materials that

27 could identify undercover agents and/or confidential sources, and/or that contain personal identifying

28 information (“PII”) and other confidential information of real persons.


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 1          2.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 2 Criminal Procedure, Local Rule 141.1, and its general supervisory authority.

 3          3.      On March 16, 2023, the Grand Jury returned an indictment charging the Defendants with

 4 violations of Title 21 of the United States Code including a violation of 21 U.S.C. §§ 846, 841(a)(1).

 5          4.      The Government has been providing ongoing discovery to defense counsel. At this time,

 6 the Government intends to disclose materials that could more clearly identify undercover agents and/or

 7 confidential sources. The government seeks to do so pursuant to its discovery obligations, although

 8 some of the materials may exceed the scope of the government’s discovery obligations and will be

 9 produced to promote a prompt and just resolution of the case.

10          5.      The materials may include, but not be limited to: (1) audio recordings, video recordings,

11 photographs, investigative reports and/or other documents that could identify law enforcement

12 undercover agents and/or confidential sources; and (2) materials containing PII and other confidential

13 information of real persons. These real persons are third parties, co-defendants, and/or witnesses to this

14 case. This discovery will be considered “Protected Material” as described in this stipulation and order,

15 as will any other discovery marked as Protected Material.

16          6.      The purpose of this stipulation and order is to establish the procedures that must be

17 followed by Defense Counsel, any designated employees, and any other individual who receives access

18 to any Protected Material in this case and the information therein.

19          7.      The Government shall produce the Material to Defense Counsel, designating the

20 discovery with the bates prefix, “GONZALEZSOLTEROETAL_PM_.” This discovery, and any

21 subsequent material discovered by the Government to Defense Counsel using the bates-prefix, shall be

22 considered Protected Material.

23          8.      All Protected Material in this case is now and will forever remain the property of the

24 Government. It is entrusted to Defense Counsel only for purposes of representing the Defendant during

25 the pendency of this case.

26          9.      Defense Counsel shall not give any Protected Material to any person other than Defense

27 Counsel’s staff assisting in preparation of the present case. The term “staff” shall explicitly include only

28 attorneys, paralegals, legal assistants, retained experts, and investigators assisting Defense Counsel in


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 1 the present matter. The term excludes any other defendant in this matter or any other pending matter

 2 against the Defendants; any person involved in any case in which discovery concerning the Defendants

 3 are produced; and any other person other than those specifically authorized to see Protected Material

 4 under this paragraph.

 5          10.      Any person receiving access to the Protected Material from Defense Counsel shall be

 6 bound by the same obligations as Defense Counsel and, further, may not give any Protected Material to

 7 anyone.

 8          11.      No members of the Defendant’s family, friends of the Defendant, personal or

 9 professional associates of the Defendant, or any other person affiliated with the Defendant or any

10 Defendant in a related case shall be given access to any Protected Material or its contents in any manner,

11 for any reason.

12          12.      Defense Counsel may make copies of Protected Material and may take written or typed

13 notes summarizing it in connection with preparation of the case. If necessary to the litigation of the

14 instant matter, Defense Counsel may also have audio or video forms of Protected Material transcribed.

15 All notes, copies, duplicates, summaries, transcripts, or other representations of or concerning the

16 information in the Protected Material comprises “Protected Material” itself, must be affixed with the

17 corresponding bates numbers and the “Protected Material” ledger, and is subject to all terms of this

18 stipulation and order.

19          13.      Defense Counsel shall maintain a list of persons to whom any Protected Material is being

20 or has been given. Such persons shall be provided with a copy of the executed version of this stipulation

21 and order, shall sign their full names to a copy, and shall in writing acknowledge that they understand its

22 terms and are bound by it. If Defense Counsel is replaced for any reason, or if new counsel is appointed

23 in any phase of the matter, the new counsel shall not have access to any Protected Material until and

24 unless they sign a copy of this stipulation and order, under the terms described in this paragraph.

25          14.      Defense Counsel may use the Protected Material in the defense of Defendant in the

26 instant case in any manner deemed essential to adequately represent him (i.e., in motions that are filed

27 under seal, if necessary; in ex-parte applications as may be needed; and in reproducing and summarizing

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 1           15.    Protected Material may be used in trial preparation summaries, exhibits and as evidence,

 2 as may be needed), consistent with this stipulation and order as it shall be originally prepared and

 3 signed.

 4           16.    In the event Defense Counsel needs to use any Protected Material in a manner not

 5 authorized under this stipulation and order, Defense Counsel is entitled to seek to have this stipulation

 6 and order amended by the District Court, after having given notice to counsel for the Government, in a

 7 hearing before the District Court, in order to meet the obligations under the Sixth Amendment to the

 8 United States Constitution.

 9           17.    Defense Counsel and any authorized members of Defense Counsel’s staff are authorized

10 to review with Defendant the contents of the Protected Material. Defense Counsel and authorized

11 members of his/her staff, however, are prohibited from in any way giving Defendant any Protected

12 Material or any memorialization of the content of any of it, such as: any of the Protected Material itself;

13 copies of any of the Protected Material; copies of excerpts of any of the Protected Material; or

14 summaries of any of the Protected Material. This prohibition will not extend to the Defendant viewing

15 the Protected Material in open court should any of these materials or summaries thereof be used in the

16 litigation of this case.

17                                          [Continued on Next Page]

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 1          18.    Defense Counsel is authorized to show copies of the Protected Material to potential

 2 witnesses in this case. Defense Counsel is prohibited, however, from in any way giving any potential

 3 witness any Protected Material or any memorialization of the content of any of it, or allowing any

 4 potential witness to make a copy or in any way memorialize the contents of any Protected Material.

 5                                                         Respectfully Submitted,

 6   Dated: September 17, 2023                             PHILLIP A. TALBERT
                                                           United States Attorney
 7
                                                    By: /s/ KERRY BLACKBURN
 8                                                      KERRY BLACKBURN
                                                        Assistant United States Attorney
 9
     Dated: September 24, 2023                             /s/ Dina L. Santos
10                                                         DINA L. SANTOS
                                                           Counsel for Defendant
11                                                         CARLO IVAN GONZALEZ-SOLTERO
12
     Dated: September 18, 2023                             /s/ Douglas J. Beevers
13                                                         DOUGLAS J. BEEVERS
                                                           Counsel for Defendant
14                                                         DUBAN ALEJANDRO MARTINEZ
                                                               ANDRADE
15

16   Dated: September 24, 2023                             /s/ Michael D. Long
                                                           MICHAEL D. LONG
17                                                         Counsel for Defendant
                                                           CARLOS FLORES AVALOS
18

19   Dated: September 18, 2023                             /s/ Martin Jones
                                                           MARTIN JONES
20                                                         Counsel for Defendant
                                                           MARIANO CASILLAS
21

22   Dated: September 24, 2023                             /s/ Mary Bird
                                                           MARY BIRD
23                                                         Counsel for Defendant
                                                           ENRIQUE NAVARRO-VILLA
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 1                                         FINDINGS AND ORDER

 2         The Court having read and considered the Stipulation and Joint Request for a Protective Order,

 3 which this Court incorporates by reference into this Order in full, hereby finds that GOOD CAUSE

 4 exists to enter the above Order.

 5         IT IS SO FOUND AND ORDERED

 6 Dated: September 25, 2023

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